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      UNITED STATES DISTRICT COURT
      EASTERN DISTRICT OF NEW YORK
      ---------------------------------------------------------------){
      UNITED STATES OF AMERICA,

                        v.                                                MEMORANDUM AND ORDER
                                                                          11-CR-857-1 (WFK)
      WILBER BAIRES,
      aka Doofy,

                                         Defendant.
      ---------------------------------------------------------------){
      WILLIAM F. KUNTZ, II, United States District Judge:

               On April 11, 2012, Defendant Wilber Baires ("Defendant") pled guilty to Conspiracy to
      Assault with a Dangerous Weapon in-aid-of Racketeering. ECF No. 65 ("Guilty Plea"). On
      April 9, 2014, the Court sentenced Defendant to a term of thirty-six months imprisonment to be
      followed by one year of supervised release, and ordered Defendant to pay the $100 mandatory
      assessment fee. ECF No. 240 ("Sentencing Minute Entry"). On April 17, 2014, Defendant
      appealed his sentence. ECF No. 243 ("Notice of Appeal"). On January 29, 2016, the Second
      Circuit remanded Defendant's case for resentencing proceedings with instructions to discuss the
      18 U.S.C. § 3553(a) factors pursuant to 18 U.S.C. § 3553(c)(2). United States v. Baires, 14-
      1210, slip op. at 3-5 (2d Cir. Jan. 29, 2016). On February 17, 2016, the Court held a Fatico
      hearing to assist with resentencing. The Court now provides a complete statement of reasons
      pursuant to 18 U.S.C. § 3553(c) of those factors set forth by Congress and the President and
      contained in 18 U.S.C. § 3553(a). For the reasons stated below, Defendant is hereby sentenced
      to thirty months of imprisonment to be followed by one year of supervised release.

                                                     BACKGROUND

              On December 20, 2011, Defendant was charged in a multi-defendant, seventeen-count

      Indictment with one count of Conspiracy to Assault with a Dangerous Weapon in-aid-of

      Racketeering under I 8 U.S.C. § l 959(b)(2) ("Count Three"). ECF No. 1 ("Indictment") at 8-9.

      On April 1 I, 2012, Defendant pied guilty to Count Three of the Indictment. See Guilty Plea at 1.

      On April 9, 2014, the Court sentenced Defendant to a term of thirty-six months imprisonment

      followed by three~ years supervised release, and ordered Defendant to pay the $100.00 mandatory

      assessment fee. See Sentencing Minute Entry; ECF No. 241 ("Judgment"); ECF No. 242

      ("Statement of Reasons").




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          On April 17, 2014, Defendant filed a notice of appeal of his sentence with the Second

  Circuit Court of Appeals. See Notice of Appeal.

          On January 29, 2016, the Second Circuit remanded Defendant's case with instructions to

  conduct resentencing proceedings. United States v. Baires, 14-1210, slip op. at 3-5 (2d Cir. Jan.

  29, 2016). Specifically, the Second Circuit stated that the District Court "did not meet its

  obligation to state its reasons for imposing the sentence, particularly one that exceeds the

  guideline recommendation." Id at 4.

         The Court scheduled an evidentiary "Fatico hearing" for February 17, 2016, in

  accordance with the U.S. Sentencing Guidelines Manual§ 6Al .3, to allow the parties the
                                                        \

  opportunity to supplement the record. For the reasons set forth below, the Court resentences

  Defendant and sets forth its reasons for Defendant's sentence using the rubric of the Section

  3553(a) factors pursuant to 18 U.S.C. § 3553(c)(2).

                                             DISCUSSION

  I.     Legal Standard

          18 U.S.C. § 3553 outlines the procedures for imposing sentence in a criminal case. When

  the District Court chooses to impose a sentence outside of the Sentencing Guidelines range, the

  Court "shall state in open court the reasons for its imposition of the particular sentence, and ...

  the specific reaso~ for the imposition of a sentence different from that described" in the

  Guidelines. 18 U.S.C. § 3553(c)(2). The Court must also "state[] with specificity" its reasons

  for so departing "in a statement of reasons form[.]" Id.

         "The sentencing court's written statement of reasons shall be a simple, fact-specific

  statement explaining why the guidelines range did not account for a specific factor or factors

  under [Section] 3553(a)." United States v. Davis, 08-CR-332, 2010 WL 1221709, at *l




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   (E.D.N.Y. Mar. 29, 2010) (Weinstein, J.) (internal quotation marks and citation omitted). 18

  U.S.C. § 3553(a) provides a list of reasons for the Court to consider in choosing what sentence to

  impose on a criminal defendant. Specifically, Section 3553(a) states "[t]he court, in determining

  the particular sentence to be imposed, shall consider[:]"

          (1) the nature and circumstances of the offense and the history and characteristics
          of the defendant;
          (2) the need for the sentence imposed--
               (A) to reflect the seriousness of the offense, to promote respect for the law,
               and to provide just punishment for the offense;
               (B) to afford adequate deteITence to criminal conduct;
               (C) to protect the public from fmther crimes of the defendant; and
               (D) to provide the defendant with needed educational or vocational training,
              medical care, or other correctional treatment in the most effective manner;
          (3) the kinds of sentences available;
          (4) the kinds of sentence and the sentencing range established for--
              (A) the applicable category of offense committed by the applicable category
              of defendant as set forth in the guidelines--
                   (i) issued by the Sentencing Commission pursuant to section 994(a)(l) of
                   title 28, United States Code, subject to any amendments made to such
                   guidelines by act of Congress (regardless of whether such amendments
                   have yet to be incorporated by the Sentencing Commission into
                   amendments issued under section 994(p) of title 28); and
                   (ii) that, except as provided in section 3742(g), are in effect on the date the
                   defendant is sentenced; or
              (B) in the case of a violation of probation or supervised release, the applicable
              guidelines or policy statements issued by the Sentencing Commission
              pursuant to section 994(a)(3) of title 28, United States Code, taking into
              account any amendments made to such guidelines or policy statements by act
              of Congress (regardless of whether such amendments have yet to be
              incorporated by the Sentencing Commission into amendments issued under
              section 994(p) of title 28);
         (5) any pertinent policy statement--
              (A) issued by the Sentencing Commission pursuant to section 994(a)(2) of
              title 28, United States Code, subject to any amendments made to such policy
              statement by act of Congress (regardless of whether such amendments have
              yet to be incorporated by the Sentencing Commission into amendments issued
              under section 994(p) of title 28); and
              (B) that, except as provided in section 3742(g), is in effect on the date the
              defendant is sentenced.
         (6) the need to avoid unwarranted sentence disparities among defendants with
         similar records who have been found guilty of similar conduct; and
         (7) the need to provide restitution to any victims of the offense.



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           The Court addresses each of the 18 U.S.C. § 3553(a) factors in turn.

  II.      Analysis

        1. The Nature and Circumstances of the Offense and the History and
           Characteristics of the Defend ant

           The first 18 U.S.C. § 3553(a) factor requires the Court to evaluate "the nature and

  circumstances of the offense and the history and characteristics of the [D]efendant." 18 U.S.C. §

  3553(a)(l). Proceeding chronologically, the Court addresses first the history and characteristics

  of the Defendant and then the nature and circumstances of the offense. Based on these factors, a

  significant sentence is justified.

              a. History and Characteristics of Defendant

           Defendant was born on May 1, 1991, in San Miguel, El Salvador. See July 19,

  2013 Presentence Investigation Report ("PSR") ~ 54. Defendant's mother paid for him to

  enter the United States illegally when he was twelve, though he is now a permanent

  resident. Id. ~ 60. Defendant has two children: Jeffrey Baires, age 3, and Natalie Ramos,

  age 2. Id ~~ 57-8. He provides $30 per week in court-ordered child support to the

  mother of his youngest child. Id.~ 58.

           Defendant has two prior convictions. On December 14, 2008, he was convicted

  of disorderly conduct in Queens County Criminal Court for possessing nine bags of

  cocaine and seven bags of marijuana. Id. ~ 46. He was sentenced to one year of

  conditional discharge and a $250 fine. Id On October 8, 2009, Defendant was convicted

  of attempted criminal trespass in Queens County Criminal Court and sentenced to another

  year of conditional discharge. Id. ~ 4 7. According to court records, Defendant and three




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  others surrounded the victim, asked him what gang he was in, brandished a machete, and

  threatened to kill the victim if he did not give them money. Id

          Defendant has been a member of the gang "La Mara Salvatrucha," also known as

  "MS-13," since 2005, when he was fourteen years old. Id. ~ 63. Over time he has risen

  through the organization's ranks, eventually serving in a leadership position for nine

  months. Id

             b. Nature and Circumstances of the Offense

          Defendant's offense is particularly disturbing because of the organization on whose

  behalf it was committed. MS-13 has grown from a small Salvadorian street gang into an

  international terrorist organization recognized by both the United States Treasury and the

  Supreme Court of El Salvador. 1 Id~ 4.

          MS-13 has a hierarchical structure, with the leaders of smaller chapters, or "cliques,"

  reporting to a state-wide council, which in turn reports to a coastal council that receives its orders

  straight from gang leadership in El Salvador. Id~ 5. At the time of induction, new MS-13

  members swear an oath to shoot, stab, and otherwise injure any members of other gangs. Id.

  Gang membership is considered a lifetime commitment; only on rare occasions may clique

  members vote on whether an individual can leave the gang. Id

        · The primary purpose of MS-13 is to promote and enhance its own prestige, reputation,

  and territorial position with respect to rival criminal enterprises. Id. if 8. Gang members strive to




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   See Press Release, U.S. Dep't Treasury, Treasury Sanctions Latin American Criminal
  Organization (Oct. 11, 2012); Vishakha Sonawane, El Salvador Declares Street Gangs As
  Terrorist Groups, Supreme Court Rules, Int'l Bus. Times (Aug. 25, 2015, 3:15 A.M.),
  http://www.ibtimes.com/el-salvador-declares-street-gangs-terrorist-groups-supreme-court-rules-
  2066665.


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  achieve these ends through intimidation, threats of violence, drug trafficking, robbery, assault,

  and murder. Id.

           MS-13 is funded primarily through street-level cocaine sales and robberies. Id.~ 6. The

  gang maintains a vast inventory of firearms, ammunition, and knives, which are issued to

  members for specific assaults or murders and then returned to the clique's central stockpile. Id

  Clique members routinely carry out directives from regional, national, and international MS-13

  leaders to kill witnesses, rival gang members, and ~ooperating or defecting MS-13 members. Id

           Defendant committed the instant offense as a member of the Flushing clique, one of four

  cliques in Queens, New York. Id.~ 10. Between 2007 and December 30, 2011, Defendant and

  three other members of MS-13 conspired to assault members of the rival Bloods gang with

  dangerous weapons. Id.~ 14. In January of201 l, the New York Police Department

  ("N.Y.P.D.") recorded a telephone conversation between two of Defendant's co-conspirators in

  which they discussed "doing something" to Bloods members at Francis Lewis High School in

  Queens, New York, in retaliation for an assault on a fellow MS-13 member. Id , 15. The co-

  conspirators intended to assault the Bloods members with a baseball bat and brass knuckles as

  they left school. Id The N.Y.P.D. dispatched officers to Francis Lewis High School on the day

  of the planned assault, however, thwarting the plan. Id.~ 16. Later that evening, the N.Y.P.D.

  recorded a telephone conversation between Defendant and one of his co-conspirators in which

  they attempted to figure out how the police had learned of the assault. Id. Defendant was

  arrested on January 5, 2012. Id.~ 25.

           In addition to the conduct described above, Defendant also stated to law enforcement on

  December 14, 2011, that he participated in a violent assault of a Bloods member in 2007, during

  which he repeatedly kicked the victim while another MS-13 member hit the victim in the head




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  with a rock. See ECF No. 236 ("Gov't Sentencing Mem.") at 2. He also acknowledged his

  participation in a machete attack against a member of the rival 18th Street Gang in 2009. See id

      2. The Need for the Sentence Imposed

          The second 18 U.S.C. § 3553(a) factor instructs the Court to consider "the need for the

  sentence imposed (A) to reflect the seriousness of the offense, to promote respect for the law,

  and to provide just punishment for the offense; (B) to afford adequate deterrence to criminal

  conduct; (C) to protect the public from further crimes of the defendant; and (D) to provide the

  defendant with needed educational or vocational training, medical care, or other correctional

  treatment in the most effective manner." 18 U.S.C. § 3553(a)(2). The Court will address each

  subsection in turn.

             a. Reflecting the Seriousness of the Offense, Promoting Respect for the Law,
                and Providing Just Punishment

         The Court finds a significant sentence is necessary to accomplish the purposes of

  reflecting the seriousness of the offense, promoting respect for the law, and providing just

  punishment. See 18 U.S.C. § 3553(a)(2?(A).

         Although Defendant was unable to actually commit the planned assault, it is apparent that

  he would have absent the N.Y.P.D. expeditiously deploying officers to Francis Lewis High

  School. Such a crime would have resulted in violence against, and possibly death for, high

  school children. It would have triggered an in-kind response from the Bloods, further

  contributing to the cycle of retribution between rival gangs. This Defendant displayed neither

  remorse nor recognition of the severity of his conduct. At the January 10, 2012 status conference

  in this matter, this Court personally observed Defendant cynically flashing gang signs and

  laughing with his fellow MS-13 defendants. A significant sentence will help Defendant

  understand the grave consequences of his actions.



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              b. Affording Adequate Deterrence to Criminal Conduct

          "Under section 3553(a)(2)(B), there are two major considerations: specific and general

  deterrence." Davis, 2010 WL 1221709 at *2. The Court finds a significant sentence of

  incarceration is also necessary to afford adequate deterrence, both specific and general, to

  criminal conduct. See 18 U.S.C. § 3553(a)(2)(B).

          At twenty-two years of age, this Defendant is already a leader of MS-13 in this judicial

  district. There is substantial risk that he will revert to additional criminal activity if not

  adequately prevented from doing so. The Court finds that specific deterrence will be achieved

  by Defendant's incapacitation for the duration of his thirty-month sentence. Regarding general

  deterrence, the Court finds that a significant sentence will "send a clear message that any

  involvement in [street] gangs will result in a substantial period of incarceration." United States v.

  Pender, 07-CR-874, 2009 WL 1013500, at *2 (E.D.N.Y. Apr. 14, 2009) (Weinstein, J.).

              c. Protecting the Public from Further Crimes of the Defendant

          As noted above, Defendant has planned and executed violent assault on more than one

  occasion. Perhaps more importantly, he is a leader in a notoriously merciless gang that rarely

  allows members to leave its ranks. Upon his release from prison, the Court sees no indication

  that Defendant will change his ways. The only means by which the Court can protect the public

  from Defendant's continued pursuit of criminal activity is to incarcerate him for a significant

  period of time.

             d. Providing Defendant with Needed Educational or Vocational Training,
                Medical Care, or Other Correctional Treatment in the Most Effective
                Manner

         Defendant does not require additional educational or vocational training, medical care, or

  other correctional treatment. Accordingly, this factor is irrelevant.




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      3. The Kinds of Sentences Available

          The third 18 U.S.C. § 3553(a) factor requires the Court to discuss "the kinds of sentences

  available" for Defendant. 18 U.S.C. § 3553(a)(3).

          Defendant pied guilty to Conspiracy to Assault with a Dangerous Weapon in-aid-of

  Racketeering under 18 U.S.C. § 1959(a)(6). See Guilty Plea at 1. This count carries a maximum

  imprisonment term of three years, 18 U.S.C. § 1959(a)(6), and a maximum supervised release

  period of one year, 18 U.S.C. § 3583(b)(3). In addition, because this Count is a Class E Felony,

  Defendant is eligible for not less than one nor more than five years probation, with one or more

  of the following conditions unless extraordinary circumstances exist: a fine, restitution, or

  community service. 18 U.S.C. §§ 3561(c)(l), 3563(a)(2). This Count also carries a maximum

  fine of$250,000.00, 18 U.S.C. § 357l(b), and a mandatory special assessmentof$100.00, 18

  U.S.C. § 3013. Because no loss has been identified in this case, restitution is not applicable. 18

  U.S.C. § 3663A. Accordingly, the Court's sentence of thirty months imprisonment, followed by

  one year of supervised release, falls within the kinds of sentences available to Defendant.

      4. The Kinds of Sentence and the Sentencing Range Established For Defendant's
         Offenses

          The fourth 18 U.S.C. § 3553(a) factor requires the Court to detail "the kinds of sentence

  and the sentencing range established for[] the applicable category of offense committed by the

  applicable category of defendant as set forth in the guidelines (i) issued by the Sentencing

  Commission pursuant to section 994(a)(l) of title 28, United States Code, subject to any

  amendments made to such guidelines by act of Congress (regardless of whether such

  amendments have yet to be incorporated by the Sentencing Commission into amendments issued

  under section 994(p) of title 28); and (ii) that, except as provided in section 3742(g), are in effect

  on the date the defendant is sentenced[.]" 18 U.S.C. § 3553(a)(4)(A).



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        Guideline 2El.l(a)(2) provides that the base offense level for Conspiracy in-aid-of

 Racketeering be derived from the guideline for the underlying offense. U.S. Sentencing

Guidelines Manual§ 2El.l(a)(2) (U.S. Sentencing Comm'n 2015) ("U.S.S.G."). The underlying

offense is Conspiracy to Assault with a Dangerous Weapon, to which Guideline 2Xl.1 applies.

Id. § 2X 1.1. Guideline 2X 1.1 (a) instructs that the base offense level for Conspiracy to Assault

with a Dangerous Weapon is the offense level for the underlying offense, plus any adjustments

for intended conduct that can be established with reasonable certainty. Id § 2Xl.l(a).

Accordingly, Defendant has a base offense level of fourteen pursuant to Guideline 2A2.2, which

governs convictions for Aggravated Assault. Id § 2A2.2. Two offense levels are added because

Defendant engaged in more than minimal planning by speaking with co-defendants to coordinate

the attack. Id. § 2B3.l(b)(2)(C). An additional four-level enhancement is warranted because the

Defendant and his co-defendants intended to use dangerous weapons-here, a baseball bat and

brass knuckles-during the assault. Id. § 2B3.l(b)(6). Because Defendant demonstrated ·

acceptance of responsibility for the offense and pied guilty in a timely manner, a decrease of

three offense levels is permitted by the guidelines. Id. §§ 3El.l(a), 3El.l(b).

       Taking all adjustments into account, Defendant's offense level is seventeen. See PSR ~

44. With a criminal history category of I, Defendant's guidelines sentencing range is twenty-

four to thirty months. See U.S. Sentencing Guidelines Manual Sentencing Table (U.S.

Sentencing Comm'n 2015). Defendant is eligible for a supervised release term of one year. Id. §

5Dl.2(a)(3). Defendant is ineligible for probation because the applicable guidelines range is in

Zone D of the Sentencing Table. Id. § SB 1.1, comment (n.2). The guidelines suggest a fine

within the range of $10,000 to $95,000. Id. § 5El.2(c)(3). Costs of prosecution shall be

considered in determining whether to impose a fine. See id. § 5El .5; PSR ~ 95.




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    5. Pertinent Policy Statement(s) of the Sentencing Commission

        The fifth 18 U.S.C. § 3553(a) factor requires the Court to evaluate "any pertinent policy

statement[] issued by the Sentencing Commission pursuant to section 994(a)(2) of title 28,

United States Code, subject to any amendments made to such policy statement by act of

Congress (regardless of whether such amendments have yet to be incorporated by the Sentencing

Commission into amendments issued under section 994(p) of title 28); and [] that, except as

provided in section 3742(g), is in effect on the date the defendant is sentenced." 18 U.S.C. §

3553(a)(5).

        Policy Statement § SHI .8, in conjunction with§ 4Al .3, provides that a defendant's

criminal history may warrant an upward departure if reliable information indicates that the

defendant's criminal history category substantially underrepresents the seriousness of the

defendant's criminal history or the likelihood that the defendant will commit other crimes.

U.S.S.G. §§SHI .8, 4Al .3(a). Defendant has been previously convicted twice: once for

disorderly conduct and once for criminal trespass. In the first case, Defendant was found in

possession of nine bags containing cocaine and seven bags containing marijuana. PSR ~ 46. In

the second case, Defendant was arrested for robbery and convicted of attempted criminal

trespass. Id.~ 47. Because of the ultimate disposition of these offenses, neither contributed any

criminal history points under the guidelines analysis, and therefore an upward departure may be

warranted.

       Additionally, the Presentence Investigation Report notes that Defendant used the filing

status "head of household" for his 2011 federal and state tax returns, despite being married at

that time. PSR ~ 102. Pursuant to Policy Statement 4A 1.3, this false representation is a factor

that the Court may consider in departing upward from the guidelines. See U.S.S.G. § 4Al.3(a).




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    6. The Need to Avoid Unwarranted Sentence Disparities

        The sixth 18 U.S.C. § 3553(a) factor requires the Court to consider "the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct." 18 U.S.C. § 3553(a)(6).

        Defendant pied guilty to Conspiracy to Assault with a Dangerous Weapon in-aid-of

Racketeering, which carries a maximum imprisonment term of three years of incarceration. See

Guilty Plea at 1; 18 U.S.C. § 1951(a). Accordingly, a sentence of up to three years imprisonment

is not beyond the pale for Defendant's crime, and avoids disparities with other federal sentences

which recognize the severity of such a crime.

        In addition, "[t]he New York state statute, while not directly applicable, provides a useful

indication of how this crime would be treated" under state law. United States v. Ferranti, 928 F.

Supp. 206, 214 (E.D.N.Y. 1996) (Weinstein, J.). The New York state analog to Defendant's

crime is Conspiracy in the Fourth Degree, which carries a sentence of one to four years of

imprisonment. See New York Penal Law§§ 105.10, 70.00(2)(e). A substantial prison sentence

would therefore not create a disparity with New York State sentences for similar defendants.

    7. The Need to Provide Restitution

        Lastly, the seventh 18 U.S.C. § 3553(a) factor requires the Court to touch upon "the need

to provide restitution to any victims of the offense." 18 U.S.C. § 3553(a)(7). Because no loss

has been identified Defendant's case, restitution is not applicable. See 18 U.S.C. § 3663A.

Accordingly, this factor is not relevant.

                                            CONCLUSION

       The Second Circuit in its recent mandate to this Court properly demanded answers and

properly insisted on the truth. The Second Circuit can handle the truth. The truth is that Mr.




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                                              s/ WFK
